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.UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

 

 

Case No. CV_98-2817-RAP(CWx) Date: January 20, 2000
Title: United Pacific Insurance Co. V. U.S. Department of Interior
PRESENT:

THE HONORABLE RICHARD A, PAEZ, JUDGE

 

 

Valencia R. Vallery None Present
Courtroom Clerk Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS: ATTORNEYS PRESENT FOR DEFENDANTS:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER TAKING UNDER SUBMISSION COUNTER -

CLAIMANT'S MOTION FOR (A) INDICATION WHETHER
DISTRICT COURT WILL ENTERTAIN OR GRANT MOTION
FOR RECONSIDERATION AND (B) RECONSIDERATION OF
MOTION FOR SUMMARY JUDGMENT

The Court hereby takes the above matter under submission. The hearing
date of January 24, 2000 is ordered off-calendar.

The clerk shall serve a copy of this minute order on all counsel of
record in this action.

MINUTES Form 11 | ENTERED ON ICMS
CIVIL - GEN

Initials of Deputy Clerk

 

Jan 2 | 2000

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